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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)


                              UNITED STATES DISTRICT COURT
                                                         for the

                                            Central District of California

 United States of America                                                                                               LODGED
                                                                                                                 CLERK, U.S. DISTRICT COURT

                                                                                          5/15/23
                 v.                                                                        nne
                                                                                                                 5/15/2023
                                                                                                              CENTRAL DISTRICT OF CALIFORNIA


                                                                   Case No.
                                                                                                                            JB
                                                                                                               BY: ____________BB______ DEPUTY


 SAI ZHANG, aka “Tommy,”                                                      2:23-mj-02452 -DUTY
                 Defendant


                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of May 12, 2023, in the county of Los Angeles in the Central District of California, the

defendant violated:

           Code Section                                            Offense Description

           18 U.S.C. § 1960                                        Operating an Unlicensed Money
                                                                   Transmitting Business

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                              /s/

                                                                                    Complainant’s signature

                                                                      STEVEN GONZALES, Task Force Officer
                                                                                     Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.
                   May 15, 2023
 Date:
                                                                                       Judge’s signature

 City and state: Los Angeles, California                            Hon. Maria A. Audero, U.S. Magistrate Judge
                                                                                     Printed name and title

AUSA: Julie J. Shemitz, x5735
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                                AFFIDAVIT

     I, Steven Gonzales, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION

     1.     I am a Task Force Officer (“TFO”) with the Drug

Enforcement Administration (“DEA”) and have been so employed

since September 2017.     I have been a sworn police officer with

the City of Glendora Police Department (“GPD”) for approximately

13 years.   I am currently assigned to the Southwest Border

Initiative Group 2 (“SWB2”) at the Los Angeles Field Division of

the DEA.    SWB2 is a multi-agency task force that investigates

major drug trafficking organizations operating from Mexico and

is comprised of special agents from the DEA and local law

enforcement personnel designated as TFOs.

     2.     Throughout my career I have conducted numerous drug

investigations, and I have become aware of many techniques used

by drug traffickers.     I have been the case agent and

participating agent for investigations involving drug

trafficking in Southern California.        These investigations have

focused on drug distribution, firearms violations, gang

investigations, the laundering of drug proceeds and monetary

instruments derived from drug activities, and conspiracies

associated with drug offenses.        I have debriefed defendants,

informants, and witnesses who have personal knowledge regarding

drug trafficking organizations.       I have also participated in the

execution of search and arrest warrants involving drug

trafficking crimes.
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     3.    Additionally, I have participated in drug

investigations that included Title III wire interceptions and

California state wiretap investigations of numerous individuals

involved in the distribution, possession, and manufacture of

controlled substances, such as cocaine, cocaine base,

methamphetamine, and heroin.      In conducting these

investigations, I have used a variety of investigative

techniques and resources, including but not limited to such

techniques as surveillance, use of confidential sources, search

warrants, telephone toll analysis, and wire intercept

communications analysis.

     4.    Through my training, experience, and interaction with

more experienced DEA Special Agents, TFOs, and other drug

investigators, I have become familiar with the methods employed

by drug traffickers, in particular, practices to smuggle,

safeguard, transport, and distribute drugs, and to collect and

launder drug-related proceeds.        These methods include the use of

wireless communications technology (such as cellular telephones)

to both send text messages and to make voice calls, counter-

surveillance, smuggling schemes tied to legitimate businesses,

false or fictitious identities, and coded or encrypted

communications, in an attempt to avoid detection by law

enforcement and to circumvent drug investigations.            I know that

during the course of these wire and electronic communications,

organization members routinely use coded references and/or

encryption in an effort to elude law enforcement detection; and

that drug traffickers often confine their illegal telephonic



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communications to well-trusted organizational members and other

high-level drug traffickers.

     5.      Based on my training and experience, I know that

persons involved in the illicit distribution of controlled

substances often attempt to conceal their identities, as well as

the locations at which drug transactions take place.             They are

also known to have vehicles, properties, utilities, and other

purchases under fictitious names and/or in the names of other

individuals to conceal their criminal activities and financial

transactions.     I am aware that persons engaged in organized drug

distribution and sales maintain contact with individuals from

whom they receive and/or to whom they distribute drugs.              I know

that in order to do this effectively, these persons maintain

continued access to telephone communication, including both

voice and text.

                         II. PURPOSE OF AFFIDAVIT

             a.   This affidavit is made in support of an

application for a criminal complaint and arrest warrants for SAI
ZHANG and PANYU ZHAO for violations of 18 U.S.C. § 1960:

Unlicensed money remitting.

     6.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrant and does not purport to set forth all of my knowledge of

or investigation into this matter.          Unless specifically


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indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                          III. LEGAL FRAMEWORK

     7.    Unlicensed money remitting is prohibited by statute at

18 U.S.C. § 1960, which provides:

     (a)Whoever knowingly conducts, controls, manages,
     supervises, directs, or owns all or part of an
     unlicensed money transmitting business, shall be fined
     in accordance with this title or imprisoned not more
     than 5 years, or both.

The statute includes the following:

     (1)the term “unlicensed money transmitting business”
     means a money transmitting business which affects
     interstate or foreign commerce in any manner or degree
     and—

     (A)is operated without an appropriate money
     transmitting license in a State where such operation
     is punishable as a misdemeanor or a felony under State
     law, whether or not the defendant knew that the
     operation was required to be licensed or that the
     operation was so punishable;

     (B)fails to comply with the money transmitting
     business registration requirements under section 5330
     of title 31, United States Code, or regulations
     prescribed under such section; or

     (C)otherwise involves the transportation or
     transmission of funds that are known to the defendant
     to have been derived from a criminal offense or are
     intended to be used to promote or support unlawful
     activity;

     (2)the term “money transmitting” includes transferring
     funds on behalf of the public by any and all means
     including but not limited to transfers within this
     country or to locations abroad by wire, check, draft,
     facsimile, or courier; . . .

     8.    In the scheme described below, the participants in the

ZHANG MLO are believed to be engaged in unlicensed money

remitting, in that they are transferring funds in the form of



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United States currency, cashiers’ checks, and wire transfers to

customers in exchange for a fee as a percentage of the amount of

the transfer.

     9.    Moreover, I am aware that members of the ZHANG MLO are

utilizing United States currency that they collect from drug

traffickers and individuals involved in other types of criminal

activity, as explained below.

                   IV. STATEMENT OF PROBABLE CAUSE

     A.     BACKGROUND

     10.   In and around October 2019, Task Force Officers

(“TFOs”) with the Drug Enforcement Administration (“DEA”)

Southwest Border 2 (“SWB2”) began investigating Sai Zhang (“Sai

ZHANG”) and Guangji Zhang (“G. Zhang”), who were suspected of

overseeing a large money laundering organization (“ZHANG MLO”)

operating in the Central District of California.            In furtherance

of the money laundering scheme, Sai ZHANG and his associate,

PANYU ZHAO (“ZHAO”), and others, appear to operate a money

remitting business, as detailed below, that is not registered

with United States Department of the Treasury, Financial Crimes

Enforcement Network (“FinCEN”), in violation of 18 U.S.C.

§ 1960(a)(1)(B).    In addition, I believe, based upon my training

and experience, my knowledge of this investigation, and the

evidence presented herein, that the money transmitting business

uses funds derived from illegal activity, including drug

trafficking, in violation of 18 U.S.C. § 1960(A)(1)(c).

     11.   Further, I am informed by investigator Charles

Mullally that none of the individual members of the ZHANG MLO


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named in this affidavit are licensed or registered as money

services businesses with FinCEN, as required by the above

statute.

     12.   Throughout this investigation, TFO’s have identified

numerous subjects, as well as private residences, apartments,

businesses, and vehicles associated with or utilized by the

ZHANG MLO to conduct their illegal operations.            Based on my

knowledge of this investigation, my conversations with other law

enforcement officers, my review of relevant reports, and my

personal observations, I have learned that members of the ZHANG

MLO are using these locations for storing, counting,

repackaging, and distributing the proceeds of various criminal

activities.

     B.    CAPITAL CONTROLS IMPOSED BY THE PEOPLE’S REPUBLIC OF
           CHINA FOSTER THE USE OF INFORMAL VALUE TRANSFER
           (UNLICENSED MONEY REMITTING)

     13.   In an effort to stem the flow of investment out of

China, Chinese authorities have attempted to limit the amount of

money that Chinese citizens may take out of China each year.               As

of recently, transfers out of China were limited to $50,000 per

year and were sometimes reduced even below that by regulators.

     14.   Consequently, Chinese individuals seeking to invest

their assets elsewhere, particularly in the United States and

Europe, have begun to take advantage of the kinds of informal

value transfer systems formerly associated with less developed

countries or with ancient cultures, such as the informal value

transfer system known as “hawala.”          In the Chinese context, the

system works to facilitate the transfer of large amounts of



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money in China to the United States by taking advantage of

international trade.

      15.   For example, a Chinese business owner who wishes to

purchase real estate in the United States as an investment,

would run afoul of Chinese capital controls in trying to simply

transfer the purchase price to the United States.            Instead, the

purchaser seeks a broker who can facilitate the purchase of

dollars outside the conventional system.          The broker finds

sources of cash in the United States that may include illegal

activity that generates large amounts of proceeds.            Those

proceeds must be returned to the owners, for example, the

Mexico-based drug traffickers whose product was sold in the U.S.

One way to move the proceeds to Mexico is for the drug

trafficker to sell the U.S. dollars to the Chinese investor in

exchange for the deposit of Chinese currency into an account in

China that is owned by the Mexican drug cartel.            The money in

that account in China can legally be used to pay off legitimate

debts to Chinese manufacturers who ship goods to Mexico.              The

goods are then sold, generating pesos representing the value of

the drugs that were shipped to the United States and sold,

generating the proceeds that are being sold to the Chinese

investor.   The following diagram, pulled from open-source

information, illustrates the use of trade-based money laundering

to transfer value from China to the United States:

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///

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     C.     SAI ZHANG, PANYU ZHAO, AND THEIR ASSOCIATES RUN AN
            UNLICENSED MONEY REMITTING BUSINESS THAT PROVIDES
            FUNDS TO CHINESE NATIONALS IN THE UNITED STATES

     16.    Through extensive surveillance of the members of the

ZHANG MLO, agents have been able to identify the locations being

used as stash and safe houses.        Specifically, agents believe

that these locations are being used to collect, count, and re-

package the United States currency that the MLO agrees to

launder for drug traffickers.         The funds collected in this way

may be deposited in various bank accounts or used to purchase

cashier’s checks that are then deposited in bank accounts; or

the funds may be used to supply customers of the unlicensed

remitting business who have purchased dollars with Chinese RMB

in China.




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             1.   Identifying Money Stash Houses Used by ZHANG and
                  ZHAO

                  a.     The Naomi Residence

      17.    On September 4, 2020, SWB2 conducted surveillance at

 9622 E. Naomi Avenue, Arcadia CA (“the Naomi residence”).              The

 Naomi residence was previously identified as a ZHANG MLO stash

 house being managed by Panyu ZHAO (“ZHAO”).           During the

 surveillance, SWB2 followed two subjects, Xuanyi Mu (“Mu”) and

 Hang Su (“Su”), from the Naomi residence to a parking lot in the

 City of Arcadia, California, where they received a bag of

 narcotics proceeds.     While at the parking lot, the first subject

 Mu parked a black Mercedes Benz.        SWB2 watched as Su left the

 vehicle and met with a driver of an SUV and received an orange

 tote bag from the driver, who was later identified as Elizabeth

 Sevilla-Mendoza1, a known courier for narcotics and narcotics

 proceeds.   After they took possession of the bag, Mu and Su left

 the lot.    TFOs continued surveillance and ultimately directed

 the Arcadia Police Department (“APD”) to conduct a traffic stop.

 During the traffic stop TFOs directed a K-9 search to be

 conducted of the Mercedes Benz.       The K-9 alerted for the

 presence or odor of narcotics to the orange tote bag which was

 found to contain $34,000 in narcotics proceeds wrapped in foil,

 with the stacks of cash bound by rubber bands.            The bag was

      1 Sevilla-Mendoza in 2007 was the passenger in a vehicle
 from which narcotics proceeds were seized. In 2009 during a
 separate investigation, she was identified as a narcotics
 courier driving loads from California to Washington. In 2012 she
 was identified as a narcotics and narcotics proceeds courier. In
 2018 she was the driver of a vehicle from which $118,090 of
 narcotics proceeds was seized after it was found within a hidden
 compartment.

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 seized from the vehicle after a positive alert from a drug

 detecting K-9.    Within 48 hours of seizing narcotics proceeds

 from Sevilla-Mendoza, the ZHANG MLO abandoned the 9622 E. Naomi

 Avenue stash house, and agents were unable to identify a new

 stash house location at that time.

                   b.    The Bedford Residence

      18.     On October 12, 2022, SWB2 TFOs received de-confliction

 emails regarding the 8888-telephone number from DEA Charlotte,

 North Carolina.    During a subsequent call, Charlotte SAs told

 SWB2 that the user of the 8888-telephone number had communicated

 with “Mimi,” an Asian female wiretap target who has not yet been

 fully identified, during a DEA Charlotte investigation.

 According to DEA Charlotte, wiretap interceptions on a North

 Carolina State wiretap revealed that Mimi is a Chinese national

 engaged in money laundering activity and is associated with the

 ZHANG MLO.    DEA Charlotte further related that Mimi was

 coordinating the pick-up of around $300,000 in narcotics

 proceeds and provided an address in San Gabriel, California and

 provided the following brief information from the call between

 Sai ZHANG (user of the 8888-telephone number) and Mimi: (a) Mimi

 addressed Sai ZHANG as “Mr. Zhang;” (b) Sai ZHANG provided Mimi

 with an address to a residence (18 Bedford Court, Arcadia,

 California) (“the Bedford Residence”); (c) Sai ZHANG also

 provided Mimi with the entrance code to the security gate (at

 the provided address) and told her to wait to be let in once she

 was parked.




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      19.    Toll analysis of the 8888-telephone number confirmed

 what the DEA Charlotte agents had concluded from their wiretap.

 The toll analysis showed that DEA Charlotte target telephone

 number 626-500-9165, utilized by Mimi, called Sai ZHANG’s 8888

 number and that the call lasted approximately one minute and 31

 seconds.    Approximately three minutes and twenty-two seconds

 later, Sai ZHANG placed an outgoing telephone call to 805-990-

 2510 (“2510”), used by ZHAO.         It is my belief, based upon my

 knowledge of this investigation, that Sai ZHANG was calling ZHAO

 to alert him that Mimi would be arriving shortly.             Approximately

 27 minutes later, Mimi called Sai ZHANG again (and received the

 gate code).    According to DEA Charlotte, based on the North

 Carolina wiretap, they briefly described their vehicles to each

 other.   The call was only 23 seconds long.            Based upon my

 training and experience, and my knowledge of this investigation,

 it is my belief that Mimi was delivering narcotics proceeds to

 ZHAO and Sai ZHANG at the Bedford residence.            Consequently, SWB2

 investigators concluded that the Bedford residence was a new

 stash house location for the ZHANG MLO2.

                  c.     The Temple City Stash House

      20.    TFOs with SWB2 and SAs with DEA Charlotte, concluded

 that Sai ZHANG was likely using Mimi as a source for narcotics

 proceeds.    SWB2 assisted DEA Charlotte with ongoing surveillance

      2 Several surveillance operations were conducted with no
 activity at the Bedford address. It is believed that the ZHANG
 MLO again moved locations to avoid law enforcement detection.
 SWB2 then discovered the 57 Wheeler Condominiums (the residence
 of ZHAO) (“Wheeler condominium”), and the Glendora Condominiums
 (“Glendora condominium”), being utilized by the ZHANG MLO as
 explained below.

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 on Mimi to determine if she received narcotics proceeds from

 drug trafficking organizations.

      21.   On October 18, 2022, SWB2 learned that, based on

 information from the DEA Charlotte wiretap, the ZHANG MLO was

 coordinating another money pick-up from Mimi.            According to DEA

 Charlotte, wiretap information indicated the pickup was for

 approximately $300,000 and was to take place at 6340 Rosemead

 Boulevard, San Gabriel, California.

      22.   On the same date at approximately 10:40 am,

 surveillance agents arrived at 6340 Rosemead Boulevard, San

 Gabriel, California and began conducting surveillance of the

 parking lot.    At approximately 11:15 am, agents observed a Blue

 Maserati, bearing California license plate 9ATM453 (“Maserati”)

 arrive in the parking lot.      TFOs watched as an unknown Asian

 male (“UM-1”) and an unknown Asian female (“UF-1”) exited the

 Maserati and walked into a grocery store.             While UM-1 and UF-1

 were inside the grocery store a white Ram TRX, bearing

 California temporary license plate BW94Y37 (“Ram TRX”), being

 driven by an unknown Hispanic male (“UM-2”), arrived and parked

 in the parking lot, just south of the Maserati.             UM-1 and UF-1

 then exited the store and walked to the Maserati.             UF-1 was

 texting on her phone.     UM-1 entered the driver seat and UF-1

 stood near the front passenger side door, which was open.

 Investigators were also able to see that UM-2, in the Ram TRX

 was also texting on his phone.       UF-1 began to look around the

 parking lot.    At this time, the Ram TRX drove up and parked next

 to the passenger side of the Maserati.         UF-1 met with UM-2 by



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 the driver’s side door of the Ram TRX.         It appeared that UF-1

 and UM-2 checked each others’ phones, possibly checking U.S.

 currency serial numbers to ensure the drop-off was happening

 properly.    After the brief exchange, UM-2 opened the rear

 driver’s side door of the Ram TRX and retrieved a large black

 bag.   UF-1 opened the rear passenger door of the Maserati, and

 UM-2 placed the large black bag into the Maserati.            UM-2 then

 re-entered the Ram TRX and UF-1 re-entered the Maserati.              Both

 parties left the location and surveillance followed the Maserati

 while SGPD followed the Ram TRX.

        23.   Surveillance followed the Maserati to 6214 Encinita

 Avenue, Temple City, California, (“Encinita residence”) where

 the Maserati parked in the driveway in front of the front door,

 which had an “A,” affixed to it, delineating it as Apartment A.

 UF-1 exited the Maserati and went inside the Encinita residence

 while an unknown male retrieved the black bag from the rear seat

 of the Maserati and took it into the Encinita residence.

        24.   Later that day, an Asian male left the Encinita

 residence and met with two Asian females in a vehicle and passed

 them a bag.    A subsequent traffic stop of the two Asian females

 revealed that the bag contained approximately $25,000 in United

 States currency.

                   d.    The Benbow Street Stash House

        25.   Surveillance agents at the Temple City house observed

 a male arrive in a white BMW and receive a white bag from the

 female courier previously seen arriving at the location with a




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 male coconspirator.     The white BMW was registered to Ally My

 Yeh, 14118 Benbow Street, Baldwin Park, California.

      26.   Surveillance then commenced on the Benbow Street

 residence where a second unknown male, later identified as Ming

 Chen, was seen coming out of the residence carrying a plastic

 bag with a squared-off bottom and entering a Toyota Camry.              The

 Toyota Camry was ultimately stopped and searched after a

 positive identification from a drug dog, revealing the plastic

 bag containing stacks of cash totaling approximately $30,000.

 Investigators then obtained a search warrant for the Benbow

 Street house, which resulted in the seizure of approximately

 $83,245.   During the search of the Benbow Street house,

 investigators also recovered both a Mexico driver’s license and

 a Washington State driver’s license, each in the name of Wen

 Jing Chen, who was believed to be the same person who was

 earlier operating the white BMW, based upon the identification

 photographs.

            2.    Identifying the Funds as Drug Proceeds

      27.   Meanwhile, that same day, SGPD continued surveillance

 on the Ram TRX that had earlier delivered $300,000 to the male

 and female couriers, and followed it to a parking lot in

 Compton, California where it parked next to a silver sedan.              The

 two occupants of the Ram TRX got out of the truck, reached

 inside the trunk of the silver sedan and took two cardboard

 boxes and two black bags, which they placed into the bed of the

 truck and the rear seat of the cab, respectively.            After leaving

 the parking lot, surveillance investigators followed the Ram TRX


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 to a different parking lot where they stopped the vehicle.               A

 Culver City canine alerted to the Ram TRX tailgate and rear

 doors.    The subsequent search resulted in the seizure of

 approximately 50 kilograms of cocaine.          The driver of the silver

 sedan, who had delivered the cocaine to the occupants of the Ram

 TRX, was followed on surveillance, enabling investigators to

 identify a stash house in Rowland Heights.             On December 15,

 2022, investigators stopped a vehicle that left the Rowland

 Heights stash house and recovered approximately $500,000.               A

 roll-back warrant on the stash house yielded another

 approximately $86,000.

      D.     CONTINUED SURVEILLANCE AT THE STASH LOCATIONS
             DEMONSTRATES ONGOING MONEY REMITTING

      28.    On January 25, 2023, SWB2 conducted surveillance at

 the Wheeler condominium (ZHAO residence), and at approximately

 7:10 p.m., a white Ram truck bearing California license plate

 number 37342K3, registered to Sai ZHANG at 656 W. Huntington

 Drive unit F1, Arcadia, California (believed to be Sai ZHANG’s

 residence), left the location, and was followed by the

 surveillance team to 119 Susan Way, Monterey Park, California

 91755, believed to be the residence of Chengwu He (the “Susan

 Way residence”)3.       At approximately 7:47 p.m., a white Range

 Rover bearing California license plate number YJY7777 (“white

      3 In early 2020, He (who lives at the Susan residence) was
 followed to the Bicycle Casino in the city of Bell Gardens,
 where he (He) was observed briefly meeting with another unknown
 subject and conducted what appeared to be a money drop. Later
 in the evening, He was again followed from the business. A
 traffic stop was conducted by Monterey Park Police who
 subsequently seized $55,286 in US currency from He after a
 positive alert to the money from a narcotics K-9.

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 Range Rover”), arrived and parked in front of the Susan Way

 residence.    The surveillance team was unable to observe the

 driver of the white Ranger Rover at the time.           At approximately

 9:13 p.m., Sai ZHANG arrived in a cement gray Mercedes Benz G63,

 bearing California temporary license plate #CK56Z02 (ordinarily

 driven by his wife), and parked in front of the Susan Way

 residence.    Sai ZHANG quickly walked straight to the front door

 and entered without knocking.        At approximately 9:14 p.m., Sai

 ZHANG and an unidentified Asian male, early thirties, wearing a

 gray sweat suit exited the front of the residence together.              The

 unidentified Asian male retrieved a black plastic bag containing

 a rectangular shaped object from the trunk of a black Mercedes

 Benz GT, bearing California license plate #8WPG833, and handed

 the bag to Sai ZHANG.     Sai ZHANG placed the bag into the

 driver’s side rear seat of his cement gray Mercedes Benz G63 and

 they both went back into the residence.          At approximately 11:20

 p.m., Sai ZHANG left the location alone in his cement gray

 Mercedes Benz G63.      At approximately 11:27 p.m., several

 occupants exited the Susan Way residence and entered various

 vehicles parked in front, including a black Mercedes Benz S580,

 bearing California license plate number 8YCK708 (“black Mercedes

 S580”).    A subsequent traffic stop of the S580 (which had no

 front license plate), revealed that the occupants of the vehicle

 were Panyu ZHAO, Su, and a third co-conspirator.

      29.     On March 1, 2023, at approximately 4:57 p.m., SWB2

 conducted surveillance on the Wheeler condominium and observed

 ZHAO leave in the black Mercedes S580 and park just outside the



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 front door of 930 Fairview Ave, #10, Arcadia, CA 91007, where he

 had previously been seen on January 10, 2023.           ZHAO exited the

 black Mercedes S580 and stood by the trunk while working on his

 phone.   After about one minute, ZHAO walked toward the front

 door of apartment #10, which was just out of the line of sight.

 Shortly thereafter, ZHAO emerged with his left hand in his front

 jacket pocket.    Based upon my experience with this case, and

 after discussing this with the surveillance agents, we concluded

 that it appeared ZHAO was holding something in his pocket due to

 the way he was manipulating it as he walked to the driver’s door

 of the black Mercedes S580.      I therefore believe that ZHAO

 likely had picked up bulk United States currency to transport to

 Sai ZHANG.

      30.     At approximately 8:05 p.m., on the same day, ZHAO was

 followed in the black Mercedes S580 to 1309 Stevens Avenue, San

 Gabriel, California 91776 (“Stevens apartments”)4, where he

 parked in front.    ZHAO remained in his vehicle for several

 minutes.   At about 8:31 p.m., surveillance observed ZHAO exit

 the black Mercedes S580 and walk into the Stevens apartment


      4 This location, 1309 Stevens Avenue, is a three-building
 apartment complex. The occupant of Unit A is Wendy LiWen Xu,
 who was previously identified as a money launderer in two other
 DEA investigations during 2020 and 2021. Moreover, DEA North
 Carolina identified Xu’s phone, 626-250-8888 as being in contact
 with their target Mimi. Although we were not able to connect
 this number to the numbers we have currently identified as
 belonging to the ZHANG MLO, I believe that it is likely ZHAO was
 picking up from Xu at the Stevens Avenue complex. I further
 believe, based upon my knowledge of the communications methods
 used by the ZHANG MLO, that Xu is most likely communicating with
 the ZHANG MLO via WeChat, so that law enforcement will not have
 access. However, we have not yet been able to confirm Xu’s
 involvement.

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 complex by himself.     After approximately six minutes, ZHAO

 returned to the vehicle carrying a red, medium-sized weighted

 tote bag, with white lettering on it, and was followed away.                At

 approximately 9:36 p.m., ZHAO arrived at 110 Interstellar,

 Irvine, CA 92618 (“Interstellar residence”), parked across the

 street, and entered the Interstellar residence carrying the same

 red tote bag with white lettering that he was seen carrying away

 from the Stevens apartments.         ZHAO was in the Interstellar

 residence for approximately five minutes before leaving empty-

 handed and was followed away.        I believe, based upon my training

 and experience, my knowledge of this investigation, and

 conversations with agents experienced in money laundering

 techniques, that ZHAO had just picked up and made a delivery of

 United States currency that was the proceeds of illicit

 activity.

      31.    After making another brief stop (approximately three

 minutes), at an apparent residence complex in Pomona,

 surveillance saw ZHAO standing in front of the black Mercedes

 S580 but was unable to maintain line of sight of ZHAO. However,

 surveillance observed the black Mercedes S580 leaving the Pomona

 apartment complex approximately three minutes later. ZHAO drove

 to 138 Glendora Avenue #9, La Puente, CA 91744 (the “Glendora

 condominium”) and, at approximately 10:51 p.m., parked on the

 street nearest the southwest portion of the condominium complex.

 Surveillance observed ZHAO walk to the southern-most pedestrian

 gate and observed as he was let in by an unknown person.               ZHAO

 was carrying a white package the approximate size of a



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 rectangular tissue box in his left hand.            ZHAO was last seen

 walking east behind the southern-most condominium.              A few

 minutes later surveillance saw the white Range Rover leave the

 Glendora condominium and followed it to the Susan Way residence.

 However, surveillance was unable to see who walked into the

 Susan Way residence5.      Surveillance returned to the Glendora

 condominium and found the black Mercedes S580 had also left the

 location.

      32.    On March 15, 2023, at approximately 5:45 p.m.,

 surveillance detectives saw a white Honda Accord bearing

 California license plate number 9BHR773 (“white Honda Accord”),

 occupied by Mu and Su, drive away from the Susan Way residence.

 The surveillance team followed.         The white Honda Accord arrived

 at the Huntington residence (believed to be the residence of Sai

 ZHANG), and left again approximately 30 seconds later, being

 driven by SU.    GPD followed the white Honda Accord while SWB2

 remained at Sai ZHANG’s Huntington residence apartment complex.

 Surveillance agents saw a white Cadillac Escalade (8PWM658)

 being driven by an unknown Asian male exit the Huntington

 residence apartment complex.          At approximately 7:50 p.m., the

 Cadillac Escalade arrived at 2029 Tracy Lane, Alhambra,

 California 91803.       Surveillance saw the Asian male driver,

 wearing a black jacket and black pants, exit the Cadillac

 Escalade and enter the open garage, located to the rear of the

 residence, from a common driveway.          At approximately 7:52 p.m.,


      5   Both Mu and Su have been seen driving the white Range
 Rover.

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 GPD surveillance advised that the white Honda Accord was also

 arriving at the townhome complex at 2029 Tracy Lane, Alhambra,

 California.      The white Honda Accord parked behind the Cadillac

 Escalade momentarily, in the common driveway.            Mu exited through

 the garage6, while carrying a small white envelope, and entered

 the front passenger seat of the Honda Accord, which then drove

 away.       GPD followed the white Honda Accord back to the Susan Way

 Residence.      At approximately 8:49 p.m., GPD Detectives saw a

 black Range Rover, bearing license plate number 9DRV799 (“black

 Range Rover”), drive away from the Susan Way residence.               The

 Fullerton Police Department (“FPD”) surveillance team followed

 while GPD remained at the Susan Way residence.             The black Range

 Rover arrived at 2577 South Mountain Avenue, Duarte, California

 91010 (“Mountain residence”).         A few minutes later, agents saw

 the black Mercedes S580 driving away from the Mountain residence

 and surveillance followed the black Mercedes S580 back to ZHAO’s

 Wheeler condominium.      At approximately 9:14 p.m. a white Toyota

 Prius arrived at the Susan residence, and a person who was

 standing in front of the residence approached the driver’s door

 and handed the driver a small unknown item.            The Prius drove

 away, and out of sight7.      At approximately 9:38 p.m.,



        I believe, based upon these circumstances, that Mu had
         6
 entered the Cadillac Escalade while it was at the Huntington
 residence apartment complex, and went with the driver to 2029
 Tracy Lane in Alhambra.
        Based upon my training and experience, and my knowledge of
         7
 this investigation, including witnessing many similar
 occurrences, I believe that this event was likely just a
 purchaser of U.S. currency picking up that currency from the MLO
 in front of the Susan Way residence.

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 surveillance detectives saw the white Honda Accord drive away

 from the Susan Way residence driven by Su, with an unknown Asian

 male passenger.      The white Honda Accord ultimately arrived at

 the Susan Way residence and parked next to the black Mercedes

 S580.       Surveillance was then terminated.

         33.    On March 17, 2023, surveillance agents at the Mountain

 residence observed the black Mercedes S580 arrive at the

 location.      Two unknown Asian males walked out of the Mountain

 residence towards the vehicle.        One of the unidentified Asian

 males wearing a gray sweatshirt and dark colored pants had what

 appeared to be a leather zip up bank bag.              The unidentified

 Asian male with the zip up bank bag opened the passenger door of

 the black Mercedes S580 and gave the bank bag to ZHAO, who was

 driving8.      The vehicle was not followed at this time due to

 limited personnel.

         34.    On March 21, 2023, at approximately 9:09 p.m.,

 surveillance saw the white Honda Accord arrive and stop next to

 the open garage of Sai ZHANG’s condominium on Huntington.                Due

 to the nighttime hours and the Honda Accord headlights facing

 the surveillance vehicle, it was not possible to see if anyone

 got in or out of the passenger side of the white Honda Accord.

 At approximately 9:12 p.m., the white Honda Accord left the

 location and SWB2 followed.       SWB2 followed the vehicle to 330 S.

 San Gabriel Boulevard where the driver parked alongside the


        Based upon my training and experience, and my knowledge of
         8
 this investigation, I believe that this was an incident during
 which ZHAO was picking up funds that the MLO had agreed to
 launder, and that could be used to supply customers with U.S.
 currency.

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 curb.    Surveillance saw Su exit the Honda Accord with a white

 envelope in hand, walk to the rear of 330 S. San Gabriel, and

 disappear from the line of sight.        Su returned to the white

 Honda Accord with the same envelope in hand and left the

 location.     SWB2 then followed the white Honda Accord to the 2600

 block of Saleroso Drive, Rowland Heights, California where

 surveillance again lost the line of sight.            At approximately

 11:35 p.m., the white Honda Accord was seen leaving the 2600

 block and surveillance followed, ultimately terminating after it

 arrived at the Glendora condominium.

         35.   On March 23, 2023, at approximately 7:44 p.m., SWB2

 arrived at the Wheeler condominium and saw ZHAO exiting the

 south driveway of the location, driving the black Mercedes S580.

 It appeared that ZHAO was the sole occupant.           Surveillance

 followed ZHAO, and, at approximately 8:08 p.m., ZHAO arrived at

 the Stevens apartments, and parked on the west side of the

 street, in front of the two-structure apartment complex.

 Surveillance observed ZHAO walk into the apartment complex. At

 about 8:26 p.m., surveillance saw ZHAO walking alone from the

 northern-most walkway of the Stevens apartments with a weighted

 white plastic grocery-sized bag in hand. ZHAO opened his trunk

 and placed the white bag inside.        It appeared that ZHAO was

 concealing the white bag in his trunk by lifting other items

 around and placing them on top of the area where he placed the

 white bag.     At about 8:31 p.m., ZHAO departed the location and

 was followed.     At about 8:37 p.m. in front of 156 S. San Gabriel

 Boulevard, a traffic stop was conducted on the black Mercedes



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 S580, which was missing a front license plate in violation of

 5200(A) of the California Vehicle Code.          ZHAO was advised to

 exit his vehicle, and a South Gate canine officer and his K9

 partner responded to the scene of the traffic stop in order to

 assist with the investigation.       K9 Bentley conducted a sniff

 search of the exterior of the black Mercedes S580 and alerted to

 the scent of narcotics near the trunk.         The vehicle was searched

 by SGPD Officers and a brown bag containing several stacks of

 U.S. Currency bound by rubber bands was recovered from the trunk

 and retained for asset forfeiture proceedings.            An official

 count later revealed that the currency total was $111,430.              I

 believe, based upon my training and experience and my knowledge

 of this investigation that ZHAO attempted to hide the U.S.

 currency by moving it from the white bag into the brown bag

 inside the trunk of the black Mercedes S580.

      36.    On April 4, 2023, the Honorable Alicia G. Rosenberg, a

 United States Magistrate Judge for the Central District of

 California issued an order authorizing the installation and

 monitoring of a GPS tracking device for the following vehicles:

         x   A black Range Rover bearing California license plate
             9DRV799 (2:23-MJ-01588)

         x   A white Honda Accord bearing California license plate
             9BHR773 (2:23-MJ-01590)

         x   A white Range Rover bearing California license plate
             YJY7777 (2:23-MJ-01585)

         x   A black Mercedes S580 bearing California license plate
             8YCK708 (2:23-MJ-01582)



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         x   A white Ram 1500 bearing California license plate
             37342K3 (2:23-MJ-01581)

      37.    On April 7, 2023, at approximately 12:30 p.m., agents

 were conducting surveillance on the white Range Rover near the

 Bank of America located at 339 No. Yale Avenue, Claremont,

 California, and the Chase bank branch at 400 N. Indian Hill

 Boulevard, Claremont, California.        At approximately 12:31 p.m. a

 male Asian later identified as Jiayong Yu was seen entering the

 Bank of America branch.      Agents recognized Yu as one of the

 individuals whose name and date of birth had been provided by

 HSI because he crossed from Mexico into the United States with

 members of the ZHANG MLO.      Based upon this information, agents

 obtained Yu’s California driver’s license and were able to

 identify him from the photograph.

      38.    On April 10, 2023, at around 5:00 p.m., SWB2 conducted

 surveillance at the Tracy Lane residence in an attempt to

 install the GPS tracker on the black Range Rover.            At

 approximately 6:05 p.m. the black Range Rover arrived at the

 Tracy Lane residence and parked in the visitor spaces in the

 south portion of the property near the park or playground area

 and tracker was placed on the vehicle a short time later.              At

 around 9:10 p.m., the GPS indicated that the black Range Rover

 had moved from Tracy Lane residence.         SWB2, assisted by the GPS

 locates, found the black Range Rover parked in front of ZHAO’s

 Wheeler condominium with its lights on and a male Asian (later

 identified as Xiaolei Ye) was pacing back and forth, on the

 north sidewalk next to the black Range Rover, while



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 simultaneously on the telephone.        Ye stood below the south

 balcony of the Wheeler condominium until a white grocery bag was

 dropped down to Ye from a location that appeared to be

 consistent with where ZHAO’s apartment is located, although ZHAO

 was not seen.    Ye caught the bag with both hands, returned to

 the black Range Rover, and left the location.           SWB2 followed the

 black Range Rover to 252 West Wistaria Ave, Arcadia, California,

 where the black Range Rover parked across the street from the

 residence.   Surveillance observed an unknown male Asian leave

 252 Wistaria Avenue carrying a yellow plastic bag, approach the

 driver’s door of the black Range Rover, give the yellow plastic

 bag to Ye through the driver’s window, and run back to the

 Wistaria Ave residence.      Ye then left the location.         At

 approximately 10:30 p.m., the black Range Rover arrived at 9527

 Langdon Ave, North Hills, California.         Surveillance observed a

 very tall Asian male, wearing rimmed glasses, black shirt, black

 shorts and sandals, standing by the passenger side of the black

 Range Rover and then saw him walk away holding two bags from the

 front passenger side of the black Range Rover and into the front

 pedestrian-gate at 9527 Langdon Ave.         Ye departed in the black

 Range Rover.    SWB2 surveillance agents remained at the Langdon

 residence believing Ye had just dropped off suspected narcotics

 proceeds to a buyer of U.S. currency.         At approximately 12:00

 a.m., believing that the two bags were not going to be leaving

 the Langdon Ave residence, SWB2 conducted a door-knock in an

 attempt to interview the recipient of the two bags.             Gaynell

 Wigington, who stated she was the homeowner’s mother, answered



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 the door and identified the tall Asian male seen earlier as a

 visitor named “Howie.”     Mrs. Wigington related “Howie” was in

 the rear property and agreed to accompany agents to where Howie

 was staying.    Upon entering, agents noticed two grocery bags,

 further described as a white plastic grocery bag and a yellow

 plastic grocery bag, protruding from underneath the bed frame

 that appeared to contain stacks of U.S. currency.            Howie gave

 permission to the surveillance agents to inspect the bags and

 said that he had taken them from the black Range Rover. Howie

 initially said that the two bags contained his money, but then

 said that the bags did not belong to him, but rather to his

 sister’s boyfriend who had asked Howie to hold them.

      39.   A Downey canine officer and his K9 partner, Holtz,

 arrived and conducted a sniff search of currency.            During the

 search, Holtz alerted to the presence of odor of narcotics on

 the currency.    Therefore, agents took the currency into custody,

 secured it in a DEA self-sealing evidence envelope, and

 ultimately booked it as evidence at the Glendora Police

 Department.    An official count later revealed that the seized

 currency total was $60,0009.

      40.   Per GPS vehicle tracking device data, the white Honda

 Accord travelled to San Francisco on April 13, 2023, and April


      9 Based upon my training and experience, and my knowledge of
 this investigation, I believe that Howie was a customer of the
 ZHANG MLO who had purchased United States currency with Chinese
 RMB in China and taken delivery of that currency in Los Angeles.
 I further believe that the currency consisted of the proceeds of
 unlawful activity that had been delivered to him by Ye, who had
 obtained the funds from ZHAO at the Wheeler condominium earlier
 in the day as described above.

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 15, 2023, each time spending less than an hour there before

 stopping briefly in the City of Fremont, and ultimately

 returning to the San Gabriel Valley.          On the early morning of

 April 16, 2023, San Gabriel PD Officers conducted a traffic stop

 on the Honda Accord and identified Zihao Luo as the driver and

 sole occupant.

      41.   On April 18, 2023, at approximately 9:17 a.m., SWB2

 TFO Gonzales noticed that the Honda Accord with an attached

 global positioning system tracking device was moving and arrived

 at ZHAO’s Wheeler condominium.        At about 9:48 a.m., the Honda

 Accord appeared to be heading westbound on the 210 freeway from

 the City of Arcadia, suspected of heading toward San Francisco10.

 SWB2 began travelling toward the Honda Accord in order to

 maintain surveillance on it.         While enroute, GPD officers

 responded to the Wheeler condominium in order to review

 surveillance footage of who and what was placed in the Honda

 Accord prior to departing.      Surveillance footage depicted the

 Honda Accord parked on the first level guest stalls of the

 parking structure.      In addition, Su was seen entering the front

 passenger seat with a black backpack on.           At about 11:00 a.m.,

 the surveillance team located the Honda Accord travelling

 northbound on the I5 freeway, near the City of Gorman.              At about

 6:28 p.m., the Honda Accord parked in front of 44 Carr Street,

      10Per GPS vehicle tracking device data, the Honda Accord
 travelled to San Francisco on April 13, 2023, and April 15,
 2023, each time spending less than an hour there before stopping
 briefly in the City of Fremont, and ultimately returning to the
 San Gabriel Valley. On the early morning of April 16, 2023, San
 Gabriel PD Officers conducted a traffic stop on the Honda Accord
 and identified Zihao Luo as the driver and sole occupant

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 San Francisco, California, 94124.        An unknown female (UF-1)

 Asian wearing a blue long sleeve sweater and blue sweatpants

 exited the front door, located on the first level of the two-

 story residence.    While maintaining surveillance from across the

 street SWB2 TFO’s saw Luo, who was the driver, open his door and

 remain sitting in the front passenger seat. UF-1 appeared to

 speak briefly to Luo from her door then approached. UF-1 stood

 beside Luo at the front passenger side of the vehicle and

 appeared to be showing Luo her phone, as he did the same.              It

 appeared that Luo and UF-1 were verifying each other with a

 specific image.    TFO’s photographed UF-1 and the residence she

 came from.   The images were uploaded to the case file.            After

 about five minutes, UF-1 returned to her residence.             Luo and Su

 were followed away in the Honda Accord.          At about 6:55 p.m., the

 Honda Accord arrived in China Town and parked on Washington

 Street, just east of Stone Street.        An unknown female (UF-2)

 Asian walked from the north side of the street and entered the

 rear passenger seat of the Honda Accord with a weighted white

 plastic grocery-type bag in her hand.         After about three

 minutes, UF-2 exited the vehicle without anything in her hands

 and walked back north across Washington Street, toward Stone

 Street.    TFO’s Fierro followed UF-2 on foot, saw her enter the

 front door of 45 Stone Street, and photographed the door UF-2

 entered.   They further observed Luo exit the front passenger

 seat with a white plastic grocery-type bag in hand and place it

 in the trunk. Luo got back into the front passenger seat. Luo

 and Su were followed away in the Honda Accord. At about 8:55



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 p.m., the Honda Accord parked to the front 36412 Sea Breeze

 Common, Fremont, California 94536.         TFO Fierro saw Luo walk into

 the center common walkway between 36411 and 36412 Sea Breeze

 Common. Luo returned to the vehicle approximately 15 minutes

 after entering and was seen carrying a white envelope back to

 the Honda Accord.       The Honda Accord was followed away.

      42.    At about 2:30 a.m. on April 19, 2023, the Honda Accord

 arrived back at the Wheeler condominium and parked in the

 underground parking garage.       Su was seen walking by himself on

 the second floor with a black backpack on.             Moments later, Luo

 left the Wheeler condominium in the Honda Accord and was not

 followed.

      43.    Vehicle tracker data showed the white Range Rover

 parked in the lot of the Chase bank branch located at 17314

 Pioneer Boulevard, in the City of Artesia several times in

 previous weeks after the vehicle tracker was installed.               On

 April 27, 2023, at about 9:15 a.m., SWB2 TFO’s established

 surveillance on the white Range Rover, which was again at the

 Pioneer Boulevard Chase bank branch.          At about 9:21 a.m., Yu

 exited the driver’s seat of the white Range Rover and appeared

 to lock it with the fob key due to the lights flashing,

 indicating there was nobody left in the vehicle.             Yu was wearing

 a black leather backpack.       Yu walked to the Automated Teller

 Machine (ATM) on the outside of the Chase branch and appeared to

 deposit a possible check.       After making an ATM deposit, Yu

 walked into the branch and was followed in by a SWB2 TFO. Yu

 contacted a female Hispanic teller wearing a black surgical mask



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 and gray shirt, at the customer service counter. Yu removed his

 backpack, retrieved several stacks of United States currency

 which were bound by rubber bands and handed the currency stacks

 to the teller.    The teller proceeded to count the currency with

 a bill counter machine for several minutes.            Yu subsequently

 left the Chase branch with a white envelope in hand and entered

 the white Range Rover.     Yu left the location and was not

 followed.   Per vehicle tracker data, after leaving the Artesia

 Chase bank, Yu entered the eastbound 91 freeway travelling

 directly to the immediate area of another Chase bank branch

 located at 400 N. Indian Hill Boulevard, in the City of

 Claremont, California.     There is also a Bank of America branch

 located at 339 N. Yale Avenue, which is directly across the

 street from the Chase branch.

      44.    After Yu departed the Chase branch in Artesia, agents

 went inside the branch and contacted the female teller who

 assisted Yu.    The teller confirmed that Yu deposited cash and

 stated that he comes in often in order to make deposits.               The

 teller was asked if the amount Yu deposited was more than

 $10,000, at which time she responded by advising that it was

 more like $100,000.

      45.    On May 4, 2023, at about 7:30 a.m., DEA SWB2 TFO’s and

 SGPD arrived at the Susan Way residence, in order to initiate

 surveillance on Yu and/or his associates.             SWB2 was anticipating

 that Yu would follow the same pattern of picking up suspected

 narcotic proceeds and depositing the money in a bank.              Based on

 past surveillance operations, Yu was known to drive the white



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 Range Rover, which was one of the vehicles that had an active

 court-ordered GPS tracking device. The white Range Rover was

 parked in the driveway of the Susan Way residence.            At about

 8:05 a.m., surveillance saw Yu leaving by himself in the white

 Range Rover and followed the vehicle to 1203 S. 1st Avenue, in

 the City of Arcadia (1st Avenue residence), where Yu parked in

 the driveway for approximately four minutes.           The front door to

 the 1st Avenue residence was left open after Yu arrived,

 indicating that he may have entered.         Direct visual contact of

 the front door was lost.      However, the white Range Rover was

 subsequently followed away.      At about 9:38 a.m., Yu exited the

 front door of the Susan Way residence carrying a weighted gray

 backpack, which he placed in the cabin of a white 2022 Mercedes

 C300 bearing California license plate number 9CFS780. Yu went

 back inside the Susan Way residence and came back out a short

 time later with a male Asian, later identified as Shuo Yang and

 both subjects were carrying backpacks.         Yang entered the

 driver’s seat of the white Mercedes C300, Yu entered the front

 passenger seat, they departed, and were followed away.             At about

 10:13 a.m., the white Mercedes C300 arrived at the parking lot

 of a Chase bank branch located at 2086 Foothill Boulevard, Unit

 B, in the City of La Verne.      The white Mercedes C300 parked out

 of view from the Chase branch, on the northeast portion of the

 parking lot, approximately 80 yards away, with numerous empty

 stalls between the branch and parking location.            Yang parked in

 a similar manner and distance from the Chase branch as Yu did

 when he made a large deposit at the Artesia branch the previous



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 Thursday.   Yu exited the white Mercedes C300 carrying a black

 backpack and walked toward the branch.          South Gate Police were

 waiting for Yu near the front of the branch and detained him

 without incident.       Detectives gained consent from Yu to look in

 his backpack which contained several bundles of US currency,

 bound with rubber bands and/or currency straps.             A canine

 officer with his K9 partner Otis conducted a sniff search of the

 currency.   K9 Otis alerted to the scent of narcotics on the

 currency.   Yu signed a currency disclaimer form and the currency

 was seized as evidence.       Although pending an official count, Yu

 stated the currency he had totaled $100,000.            As Yu was being

 detained, Yang immediately left the parking lot onto Foothill

 Boulevard in the black Mercedes C300.          A traffic stop was

 initiated on Yang for violation of California Vehicle Code

 26710(a)(1) - front tinted windows, as well as for further

 investigation relating to Yu.         Yang was having trouble

 communicating in English so agents contacted DEA Intelligence

 Research Specialist Xiangni Taylor (IRS Taylor) via mobile phone

 in order to assist the investigation with English-Mandarin

 translation.    IRS Taylor spoke to Yang via speakerphone, at

 which time Yang gave verbal consent for SWB2 to search his

 vehicle and the contents within.         Agents located a gray and lime

 green backpack on the rear driver’s side seat inside of which

 was a black plastic bag containing several bundles of US

 currency inside, bound by rubber bands and/or currency straps.

 Det. Mendez and K9 Otis responded to conduct a sniff search of

 the currency.    K9 Otis alerted to the scent of narcotics on the



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 currency.   Yang ultimately signed a currency disclaimer form and

 the currency was seized as evidence.         At this time, the currency

 seized from Yang is pending an official count but Yang stated

 the currency he had also totaled $100,000.

      46.    On May 9, 2023, the GPS tracking device for the white

 Honda Accord indicated that it was traveling to San Antonio,

 Texas.   The white Honda Accord appeared to stop only for gas and

 food along the way and arrived in San Antonio at about 6:30 a.m.

 where it exited the 10 freeway and traveled to area of 5844 Rock

 Point Drive, San Antonio.      This is the address for a business

 called Alamo Biologics.      The Honda Accord only stayed in San

 Antonio for less than an hour before entering back onto the 10

 freeway traveling westbound back towards California.             On May 10,

 2023, FPD, DPD and SWB2 conducted surveillance on the white

 Honda Accord as it travelled back to California.            SWB2 believed

 the white Honda Accord most likely received bulk narcotics

 proceeds and contacted the Beaumont Police Department to conduct

 a traffic stop of the Honda Accord.          At 1:00 a.m., FPD, DPD and

 SWB2 established surveillance of the Honda Accord as it entered

 the city of Indio.      Surveillance followed the white Honda Accord

 westbound on the 10 freeway where two Beaumont K-9 units

 initiated a traffic on the white Honda Accord in the city of

 Beaumont.   The driver was identified as Su and the passenger was

 identified as Yang.     During a pat down search of Su, BPD located

 approximately $100,000 concealed inside the jacket of Su.              Su

 told BPD that he was directed by an unknown subject to pick up

 the bulk currency in Arizona.        Su further stated the money was



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 his and it was proceeds of a high-end car rental business.              BPD

 observed 10 stacks of $10,000 that were bound in United Texas

 Credit Union money bands.      BPD asked if the money was from Texas

 and not from Arizona but Su denied the bulk currency was from

 Texas and said he picked it up in Arizona11.          The bulk currency

 was seized BPD and Su and Yang were released from the scene.

 The proceeds seized were transferred from BPD to DPD. DPD booked

 the bulk U.S. currency into evidence, pending an official count.

 The tracking device indicated that the white Honda Accord

 arrived at the Wheeler condominium shortly thereafter.

      47.    On May 11, 2023, I was monitoring the white Range

 Rover tracking device and saw that it had left the Susan Way

 residence and was driving in the direction of the Artesia Chase

 Bank branch where the ZHANG MLO members routinely deposit U.S.

 currency.   DPD established surveillance of the white Range Rover

 parked in the Chase bank parking lot.         DPD observed Su carrying

 a brown satchel walking towards the Chase Bank ATM.             Su met with

 Yu and Su gave Yu the brown satchel.         DPD detectives were

 standing near Yu as he approached the ATM and saw Yu take an ATM

 card out of the satchel and place it into the ATM.            DPD could

 also see stacks of what appeared to be U.S. currency inside the

 satchel.    DPD detained both Yu and Su and gained consent to

 search the satchel.     Inside the satchel DPD located a forged

 Chinese Passport and bank cards in the name of Haoran Feng.              The

      11SWB2 TFO’s followed the Honda Accord from California to
 Tucson, Arizona where surveillance was discontinued. I continued
 to monitor the GPS tracking device and did not observe the Honda
 Accord stop anywhere but gas stations until it reached San
 Antonio, Texas.

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 forged Chinese passport had Yu’s picture on the passport.              Both

 Yu and Su were arrested and taken to the Downey Police

 Department.    At the Downey Police Department, a Miranda

 interview was conducted where Su said he understood his rights

 and agreed to talk to investigators.         Su stated that he has

 known Yu for approximately four months and he (Su) was told to

 meet Yu at the Chase Bank.      DPD investigators asked questions

 regarding the money however, Su refused to give any information

 regarding the money.     Yu and Su were later released pending

 further investigation12.

      E.    ARREST OF ZHANG AND POST-ARREST STATEMENTS

      48.   On May 12, 2023, agents were monitoring the GPS

 tracker for the white Honda Accord and observed the vehicle

 moved from the Wheeler condominium where it was parked to

 ZHANG’s residence at the Huntington condominium.            Subsequently,

 the white Honda Accord traveled from the Huntington condominium

 to 2024 Brighton, in San Gabriel.        The driver left the vehicle

 empty-handed and went inside.        Shortly thereafter, a male Asian,

 later identified as Sai ZHANG, came out of the Brighton location

 carrying a weighted white plastic shopping bag.            Sai ZHANG

 walked directly to a white Toyota Camry (CA 9CSS007), that was

 parked in front of the white Honda Accord, opened the passenger

 side front door of the Camry, and placed the white plastic bag

 inside, appearing to manipulate something as though hiding it.

      12On May 11, 2023, investigators conducted surveillance at
 the Wheeler condominium. A grey BMW was seen leaving the
 location with known ZHANG MLO members; Zhenxing Li and Yuchi
 Xiao. That vehicle was followed to Downey PD where they picked
 up Yu and Su.

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 Subsequently, Sai ZHANG closed the passenger door of the Camry,

 walked to the back of the white Honda Accord, and looked

 underneath the white Honda Accord as if searching for a tracking

 device.    It appeared that Sai ZHANG did not find the GPS

 tracker, and he went back inside.        He then returned to the white

 Toyota Camry, got into the driver’s seat, and drove off.

 Surveillance followed and observed Sai ZHANG texting while

 driving until he ultimately pulled over and was stopped.              Sai

 ZHANG did not give consent to search the white Toyota Camry so a

 K9 officer with his narcotics-detection dog was called and

 approached the vehicle.      The K9 alerted first to the vehicle and

 then, when the door was opened, to the center console.

      49.    TFO Scott Guerrero arrived at the scene and

 administered Miranda warnings to Sai ZHANG, after which Sai

 ZHANG began to speak and made the following statements:

             a.   ZHANG immediately told TFO Guerrero that “I know

 a lot of rich people and I move a lot of money for rich people,

 but it’s not drug money.”

             b.   ZHANG stated that he has a team of people who he

 uses to obtain and distribute money and estimated that there

 were approximately 10 to 20 people with his team, including Mu,

 Su, He, and ZHAO.

             c.   ZHANG denied that he and his “team” deposited

 money in bank accounts, even when confronted with the

 information that surveillance observed his accomplices

 depositing large amounts of cash at various bank branch ATM’s.




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            d.    When asked about the source of the funds, ZHANG

 initially denied using drug proceeds and stated that most of the

 funds he sells come from fraud schemes (known as “pig

 butchering”)13 that are run by operators in the “golden triangle”

 area of southeast Asia; however, he later admitted that he had

 previously dealt in drug proceeds through 2020, but said that it

 was “scary,” because of the consequences from “the Mexicans” if

 any funds were lost.

            e.    Further, he elaborated that dealing in drug

 proceeds was more lucrative in that he could charge more (two

 percent vs. one percent) for accepting drug proceeds than for

 dealing in what he referred to as “clean” money, that is, money

 that did not come from drugs (but may have come from other forms

 of illegal activity like the “pig butchering” fraud schemes).

            f.    The funds that were seized from ZHAO on March 23,

 2023 were drug proceeds, which he had been told by the person

 who sold him the money.

            g.    After the March 23, 2023, seizure, ZHANG gave

 ZHAO permission to go away because ZHAO was afraid that he would

 be held responsible for the loss of approximately $110,000 by

 the Mexican owners of the money.


      13Based upon my training and experience, and my
 conversations with agents working frauds cases, I know that “pig
 butchering” fraud schemes are those that are based upon the
 development of false personal relationships via the internet in
 various ways (e.g., romance scams), and that rely upon those
 personal relationships to extract money from the victim over
 time, sometimes increasing the amounts demanded, and providing
 excuses for why the earnings on investment are not available to
 the victim, until the victim finally realizes the investments
 are illegitimate.

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             h.   ZHANG told TFO Guerrero that he understood that

 TFO Guerrero and the other investigators were interested in

 learning the sources of the funds that were coming from Mexico,

 and that he knew this was because it was from drug trafficking.

             i.   Finally, ZHANG told TFO Guerrero that he had been

 intending to “send” one of his “guys” to cooperate with the

 government and proposed that he could launder money for the

 government for a fee of 10 percent in exchange for which he

 would provide information about the individuals he was involved

 with in buying and selling money.

       F.    ZHAO ATTEMPTS TO FLEE THE JURISDICTION

       50.   On May 15, 2023, I was informed by HSI SA Henry

 Blackwell that ZHAO was booked on a flight from John F. Kennedy

 International Airport in New York to China, flight number MU

 588, departing at 4:25 p.m. Eastern Time.             Consequently, the

 warrant sought in connection with this application for a

 Complaint is critical in order to prevent ZHAO from leaving the

 United States.

                              V. CONCLUSION

       51.   For all the reasons described above, there is probable

 cause to believe that SAI ZHANG, aka “Tommy,” and PANYU ZHAO

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 have committed violations of Title 18, United States Code

 § 1960, as described above.


                                             /s/
                                          Steven Gonzales
                                          Task Force Agent
                                          Drug Enforcement
                                          Administration

 Subscribed to and sworn before me
      15th day of May, 2023.
 this ____



 HONORABLE MARIA A. AUDERO
 UNITED STATES MAGISTRATE JUDGE


 TELEPHONIC VERSION:

 Attested to by the applicant in
 accordance with the requirements
 of Fed. R. Crim. P. 4.1 by
                   15th day of May,
 telephone on this ____
 2023.



 HONORABLE MARIA A. AUDERO
 UNITED STATES MAGISTRATE JUDGE




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